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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                                                        4o
LAURETTA R. KING                                      CaseNo.17-cv-05026
          Plaintiff,

       v.                                             CIVIL ACTION

WAL-MART.COM USA, LLC,                                                                     FILED
         Defendant.                                   JURY TRIAL DEMANDED
                                                                                           JUN 2 2 2018
                                                                                       l<ATE 8Af\'.c.;;,;AN, Clerk
                                                                                     By_____Dep. Clerk
                             AMENDED SCHEDULING ORDER

       ANDNOW,onthisthe            22nd        day of _ _ _ _~J~u=n~e_ _ _ _ _ _ _ , 2018,

upon consideration of the parties' Joint Motion for Approval of Amended Scheduling Order, it is

hereby ORDERED and DECREED as follows:

       1.       Fact discovery in this matter shall be completed on or before June 25, 2018.

       2.       Dispositive motions shall be filed on or before July 6, 2018.

       3.       Plaintiff shall appear for an oral deposition on June 25, 2018 at 9:00 a.m. at the

offices of McDonnell & Associates, P.C., 860 1st Avenue, Suite 5B, King of P1ussia, PA 19406.

       4.       Heather Hetrick will appear for a fact witness deposition on June 25, 2018 at 1:00

p.m. at the offices of McDonnell & Associates, P.C., 860 1st Avenue, Suite SB, King of Prussia,

PA 19406.

       It is FURTHER ORDERED that if Plaintiff fails to appear at the ordered time, then

Heather Hetrick will not be required to appear for her deposition, and Walmart will be permitted

to move for dismissal of this action based on Plaintiffs failure to appear.




                                                     The Honorable Joseph F. Leeson, J .
